Entered: March 19, 2013   Case 12-21985      Doc 60     Filed 03/19/13     Page 1 of 2
Signed: March 19, 2013

SO ORDERED




                                UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF MARYLAND
                                        (at Greenbelt/Baltimore)

        In re:                                          :
                                                        :
        JUDIA F. HERRINGTON,                            :   Case No. 12-2-1985-WL
                                                        :   Chapter 13
                                      Debtor(s).        :
                                                        :

                                      ORDER CONFIRMING PLAN
                                  ____________________________________

                The plan under chapter 13 of the Bankruptcy Code having been transmitted to creditors
        and it have been determined, after hearing on notice, that the requirements for confirmation set
        forth in 11 U.S.C. § 1325 have been satisfied and that the plan complies with the other applicable
        provisions of the Bankruptcy Code it is hereby:

                 ORDERED, that the plan of the Debtor dated MARCH 4, 2013 is hereby confirmed; and
        it is further

                ORDERED, that the property of the estate shall not vest in the Debtor(s) until the
        Debtor(s) is/are granted a discharge or this case is dismissed or otherwise terminated; and it is
        further

               ORDERED, that the Debtor(s) is/are directed to pay to the Trustee on or before the 27TH
        day of each month, the sum of $559.05 monthly for months 1 through 5, and the sum of $605.00
        monthly for months 6 through 60, for a total period of 60 months.




                                                      -1-
                  Case 12-21985       Doc 60     Filed 03/19/13    Page 2 of 2



        ORDERED, that the Debtor(s) is/are directed to provide to the Trustee a copy of each
Federal income tax return, and any amendment, at the same time it is filed with the taxing
authority while the case is pending; and it is further

         ORDERED, that the Debtor(s) is/are directed to provide to the Trustee annually not later
than 45 days before the anniversary date of this Order, a statement, under penalty of perjury, of
(i) the income and expenditures of the debtor during the tax year most recently concluded before
such anniversary date, and (ii) the monthly income of the debtor(s) that shows how income,
expenditures, and monthly income are calculated; and which discloses (a) the amount and
sources of the debtor(s)’ income, (b) the identity of any person responsible with the debtor(s) for
the support of any dependent, and (c) the identity of any person who contributed, and the amount
contributed, to the household in which debtor(s) resides.

TRUSTEE RECOMMENDATION
The Chapter 13 Trustee represents
that the plan complies with the
provisions of 11 U.S.C. § 1325 and
recommends confirmation                                    /s/ Timothy P. Branigan
                                                 Timothy P. Branigan
                                                 Chapter 13 Trustee
cc:    All Creditors
       Debtor(s)
       Debtor(s)’ Counsel
       Chapter 13 Trustee

                                       END OF ORDER




                                               -2-
